                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                   CHATTANOOGA DIVISION

   CHILDREN’S HEALTH DEF., et al.,             )
                                               )
                                               )            1:21-CV-00200-DCLC-CHS
                 Plaintiffs,                   )
                                               )
          vs.                                  )
                                               )
   FOOD & DRUG ADMIN., et al.,                 )
                                               )
                 Defendants.                   )
                                               )


                                        JUDGMENT
         This case came before the Court on Defendants’ Motion to Dismiss [Doc. 22]. For the

   reasons stated in the accompanying Memorandum Opinion and Order, Defendants’ Motion to

   Dismiss [Doc. 22] is GRANTED. Accordingly, Plaintiffs’ motions to stay [Docs. 9, 14] are

   DENIED, and their amended complaint [Doc. 19] against Defendants is DISMISSED. The Clerk

   is DIRECTED to close this case.

         SO ORDERED:



                                           s/ Clifton L. Corker
                                           United States District Judge




         ENTERED AS A JUDGMENT:

         s/ LeAnna Wilson
         Clerk of Court




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